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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                        Protective Order

                v.                                                            S3 20 Cr. 188 (JSR)

 Hamid Akhavan,
   a/k/a “Ray Akhavan,” and
 Ruben Weigand,

                            Defendants.




       Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendant having requested discovery under Fed. R. Crim. P. 16, the Court hereby

finds and orders as follows:

       1. Disclosure Material. The Government has made and will make disclosure to the

defendant of documents, objects and information, including electronically stored information

(“ESI”), pursuant to Federal Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the

Government’s general obligation to produce exculpatory and impeachment material in criminal

cases, all of which will be referred to herein as “disclosure material.” The Government’s disclosure

material may include material that (i) affects the privacy, confidentiality and business interests of

individuals and entities; (ii) would impede, if prematurely disclosed, the Government’s ongoing

investigation of uncharged individuals; (iii) would risk prejudicial pretrial publicity if publicly

disseminated; and (iv) that is not authorized to be disclosed to the public or disclosed beyond that

which is necessary for the defense of this criminal case.

       2. Facilitation of Discovery. The entry of a protective order in this case will permit the

Government to produce expeditiously the disclosure material without further litigation or the need
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for redaction. It will also afford the defense prompt access to those materials, in unredacted form,

which will facilitate the preparation of the defense.

       3. Good Cause. There is good cause for entry of the protective order set forth herein.

       Accordingly it is hereby Ordered:

       4. Disclosure material shall not be disclosed by the defendant or defense counsel, including

any successor counsel (“the defense”) other than as set forth herein, and shall be used by the

defense solely for purposes of defending this action. The defense shall not post any disclosure

material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any disclosure material to the media or any third party except as set

forth below.

       5. Disclosure material may be disclosed by counsel to:

           (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action;

           (b) Prospective witnesses for purposes of defending this action.

       6. The Government may authorize, in writing, disclosure of disclosure material beyond that

otherwise permitted by this Order without further Order of this Court.

       7. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. All filings

should comply with the privacy protection provisions of Fed. R. Crim. P. 49.1.

       8. The Government has advised that information that may be subject to disclosure in this

case may be contained within ESI that the Government has seized, pursuant to warrants issued


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during the course of the investigation, from various computers, cell phones, and other devices and

storage media. Upon consent of all counsel, the Government is authorized to disclose to counsel

for the defendants, for use solely as permitted herein, the entirety of such seized ESI as the

Government believes may contain disclosure material (“the seized ESI disclosure material”). The

defendant, defense counsel, and personnel for whose conduct counsel is responsible, i.e., personnel

employed by or retained by counsel, may review the seized ESI disclosure material to identify

items pertinent to the defense. They shall not further disseminate or disclose any portion of the

seized ESI disclosure material except as otherwise set forth under this Order.



                                Return or Destruction of Material
       9. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material, within

30 days of the expiration of the period for direct appeal from any verdict in the above-captioned

case; the period of direct appeal from any order dismissing any of the charges in the above-

captioned case; or the granting of any motion made on behalf of the Government dismissing any

charges in the above-captioned case, whichever date is later. The defendant may not maintain

disclosure material. In the alternative, upon notice to the Government, counsel for the defendant

may maintain disclosure material so long as the disclosure material is maintained in a secure

manner in facilities controlled by defense counsel. In either case, if disclosure material is provided

to any prospective witnesses, counsel shall make reasonable efforts to seek the return or destruction

of such materials.


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       10. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed disclosure material. All such persons shall

be subject to the terms of this Order. Defense counsel shall maintain a record of what information

has been disclosed to which such persons.

       11. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant, nor does it restrict defendant’s use or disclosure of any other material

belonging to the defendant, that the defendant obtains from an independent source, or is publicly

available.




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                                   Retention of Jurisdiction
       12. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.


AGREED AND CONSENTED TO:

   GEOFFREY S. BERMAN
   United States Attorney


by: _____________________________                      Date: ____4/10/2020_____
    Christopher DiMase/Nicholas Folly/
    Tara La Morte
    Assistant United States Attorneys


   ___________________________                         Date: _____________________
   David Chesnoff, Esq.
   Counsel for Hamid Akhavan

   ___________________________                         Date: _____________________
   Michael Artan, Esq.


   Andrew J. Levander, Esq.
   Michael Gilbert, Esq.
   Dechert LLP

   Counsel for Ruben Weigand

SO ORDERED:

Dated: New York, New York
                   , 2020

                                                _________________________________
                                                THE HONORABLE JED S. RAKOFF
                                                UNITED STATES DISTRICT JUDGE
                                               5
            Case 1:20-cr-00188-JSR Document 21 Filed 04/10/20 Page 6 of 8



                                   Retention of Jurisdiction
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AGREED AND CONSENTED TO:

   GEOFFREY S. BERMAN
   United States Attorney


by: _____________________________                      Date: _____________________
    Christopher Dimase/Nicholas Folly/
    Tara La Morte
    Assistant United States Attorneys


   ___________________________                         Date: _____________________
   David Chesnoff, Esq.
   Counsel for Hamid Akhavan

   ___________________________                         Date: _____________________
   Michael Artan, Esq.
   Michael Gilbert, Esq.
   Counsel for Ruben Weigand




SO ORDERED:

Dated: New York, New York
                   , 2020

                                                _________________________________
                                                THE HONORABLE JED S. RAKOFF
                                                UNITED STATES DISTRICT JUDGE


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            Case 1:20-cr-00188-JSR Document 21 Filed 04/10/20 Page 7 of 8



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   United States Attorney


by: _____________________________                      Date: _____________________
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    Tara La Morte
    Assistant United States Attorneys


   ___________________________                         Date: _____________________
   David Chesnoff, Esq.
   Counsel for Hamid Akhavan

   ___________________________                         Date: _____________________
   Michael Artan, Esq.


   Andrew J. Levander, Esq.
   Michael Gilbert, Esq.
   Dechert LLP

   Counsel for Ruben Weigand

SO ORDERED:

Dated: New York, New York
                   , 2020

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                                                THE HONORABLE JED S. RAKOFF
                                                UNITED STATES DISTRICT JUDGE
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            Case 1:20-cr-00188-JSR Document 21 Filed 04/10/20 Page 8 of 8




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   GEOFFREY S. BERMAN
   United States Attorney


by: ___________                                        Date:
    Christopher Dimase/Nicholas F ally/
    Tara La Marte
    Assistant United States Attorneys


                                                       Date:
    David Chesnoff,Esq.
    Counsel for Hamid Akhavan
    ---- '
    Michael Artan, Esq.


    Andrew J. Levander, Esq.
    Michael Gilbert, Esq.
    Dechert LLP

    Counsel for Ruben Weigand

SO ORDERED:

Dated: New York, New York
        April 10, 2020

                                                 THE HONORABLE JED S. RAKOFF
                                                 UNITED STATES DISTRICT JUDGE
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